Case 2:04-cr-20439-SH|\/| Document 30 Filed 04/22/05 Page 1 of 2 Page|D 34

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IN THE UNITED STATES DISTRICT COURT n

  

 

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UNITED sTATES OF AMERICA, ) “?L§:`Fh D\}§,E;;%";S
Plaintiff, §
VS. § CR. NO. U4-20439-Ol-Ma
LONNIE DAVIS, §
Defendant. §

 

ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on April 21, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Lonnie Davis, appearing in person and with appointed
counsel, Ms. April Goode.

With leave of the Court, the defendant entered a plea of
guilty to Count l of the Indictment. Plea colloquy was held and
the Court accepted the guilty plea.

Sentencing in this matter is set for Friday, July 29, 2005 at
9:00 a.m.

The defendant is remanded to the custody of the United States
Marshal.

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ENTERED this the day of April, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:04-CR-20439 Was distributed by faX, mail, or direct printing on
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April Rose Goode

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Honorable Samuel Mays
US DISTRICT COURT

